                                        EXHIBIT B

                                      Proposed Order




DOCS_DE:236489.4 75015/003
 Case 2-20-20230-PRW,        Doc 1404-2, Filed 11/01/21, Entered 11/01/21 18:58:02,
                             Description: Exhibit B, Page 1 of 6
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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :                  Chapter 11
                                                               :
ROCHESTER DRUG                                                 :                  Case No. 20-20230 (PRW)
CO-OPERATIVE, INC.                                             :
                                                               :
                  Debtor.                                      :
---------------------------------------------------------------x


                   ORDER GRANTING LIQUIDATING TRUSTEE’S
         FIRST OMNIBUS OBJECTION TO DUPLICATE CLAIMS FILED AGAINST
                     ROCHESTER DRUG CO-OPERATIVE, INC

           Upon the objection (the “Objection”)1 of the Liquidating Trustee for entry of an order

(this “Order”) disallowing and expunging the claims identified on Schedule 1 (collectively, the

“Objectionable Claims”) pursuant to section 502(b) of the Bankruptcy Code, Bankruptcy Rule

3007, all as more fully set forth in the Objection; and upon the Declaration of David Greenblatt;

and the Court having found that it has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334 and the Standing Order of Reference from the United States District Court for the

Western District of New York, dated February 29, 2012, and the Court having found that this is a

core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the Court having found that venue of this



1
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Objection.


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proceeding and the Objection in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409;

and the Court having found that the Liquidating Trustee provided appropriate notice of the

Objection and the opportunity for a hearing on the Objection under the circumstances; and the

Court having reviewed the Objection; and the Court having determined that the legal and factual

bases set forth in the Objection establish just cause for the relief granted herein; and upon all of

the proceedings had before the Court; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

                 1.          The Objection is granted.

                 2.          The Objectionable Claims identified on Schedule 1 attached hereto are

disallowed and expunged in their entirety.

                 3.          The claims agent is authorized to update the Claims Register to reflect the

relief granted in this Order.

                 4.          Entry of this Order is without prejudice to the Liquidating Trustee’s right

to object to any other Claims in this chapter 11 case or to further object to the Objectionable

Claims (to the extent they are not disallowed and expunged pursuant to this Order) and/or to any

Surviving Claims (as defined in the Objection) on any grounds whatsoever, at a later date.

                 5.          Each Objectionable Claim and the Objection by the Liquidating Trustee to

each Objectionable Claim constitutes a separate contested matter as contemplated by

Bankruptcy Rule 9014. This Order shall be deemed a separate order with respect to each

Objectionable Claim. Any stay of this Order shall apply only to the contested matter which

involves such creditor and shall not act to stay the applicability or finality of this Order with

respect to the other contested matters covered hereby.




                                                         2
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                 6.          The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

                 7.          The Liquidating Trustee is authorized to take all actions necessary to

effectuate the relief granted pursuant to this Order in accordance with the Objection.

                 8.          This Court retains jurisdiction with respect to all matters arising from or

related to the implementation of this Order.

Dated: _____________________, 2021


                                                    THE HONORABLE PAUL R. WARREN,
                                                    UNITED STATES BANKRUPTCY JUDGE




                                                       3
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                                      SCHEDULE 1




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 Case 2-20-20230-PRW,        Doc 1404-2, Filed 11/01/21, Entered 11/01/21 18:58:02,
                             Description: Exhibit B, Page 5 of 6
       Claimant Name           No. of        Amount of      Classification (as             Disposition
                            Objectionable   Objectionable        filed) of
                                Claim           Claim         Objectionable
                                                                   Claim
BIOLIFE, LLC                     66               $6,134.40                GUC Claim 66 is disallowed.

BRENNAN, JOSEPH E               138            $150,000.00                 GUC Claim 138 is disallowed.
DICKSON‐HOWELL
PARTNERSHIP                      30                $768.00                 GUC   Claim 30 is disallowed.
HR PHARMACEUTICALS INC         20027             $1,004.83                 GUC   Claim 20027 is disallowed.
ITX CORP                        153            $103,281.25                 GUC   Claim 153 is disallowed.
JM PARTNERS LLC                 34              $33,781.10                 GUC   Claim 34 is disallowed.
JM PARTNERS LLC                 25              $33,781.10                 GUC   Claim 25 is disallowed.
JM PARTNERS LLC                   9             $33,781.10                 GUC   Claim 9 is disallowed.
JOHN G KYLES INC                 29              $1,160.04                 GUC   Claim 29 is disallowed.
KONICA MINOLTA BUSINESS
SOLUTIONS                        162             $5,696.69                 GUC Claim 162 is disallowed.
KVK‐TECH INC                      8             $52,512.12                 GUC Claim 8 is disallowed.

LONG ISLAND CITY CHEMISTS        91               $5,200.36                GUC Claim 91 is disallowed.
NATURES HEALTH
CONNECTION INC                    3              $3,240.00                 GUC   Claim 3 is disallowed.
NEPHRO‐TECH INC                  54              $7,650.00                 GUC   Claim 54 is disallowed.
NEW PHARMACY, THE                371            $12,686.26                 GUC   Claim 371 is disallowed.
NEW PHARMACY, THE                372            $12,686.26                 GUC   Claim 371 is disallowed.

NORTH COAST COMPRESSORS
D/B/A RW LINDSAY                 48                $442.80                 GUC Claim 48 is disallowed.

SHERALVEN ENTERPRISES LTD      20012              $2,120.92                GUC Claim 20012 is disallowed.
VANDA PHARMACEUTICALS
INC                              62             $33,800.58                 GUC Claim 62 is disallowed.
VERDE TECHNOLOGIES               43                $780.00                 GUC Claim 43 is disallowed.




          Case 2-20-20230-PRW,   Doc11404-2,
                            Schedule            Filed 11/01/21,
                                     to Order Granting              Entered 11/01/21 18:58:02,
                                                       Duplicate Objection
                                Description: Exhibit B, Page 6 of 6
